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Brocker, Peter (Law)

From:                              Brockel Peter (Law)
Sent:                              Friday, August 23,2019 2:53 PM
To:                                'Elena Cohen'
Cc:                                'Gideon Oliver'
Subject:                           Edrei, et al., L6 Civ. L652   - Plaintiff's Document Requests and Interrogatories


Good Afternoon Elena:

         Defendants consent to a third extension of plaintiffs' deadline to serve discovery requests, with the understanding
that the defendants are under no obligation to respond to the document requests and interrogatories dated August 19,
2019, and that the parties will work in good faith to limit the scope of plaintiffs' interrogatories and document requests,
including to better reflect the issues actually raised in this matter as required by Local Rule 26.5 of the Southern District
of New York. (e.g., Demand to Inspect No. 77 ("Plaintiffs seek to inspect one of each other type of LRAD that the
NYPD..." without limitation to the model actually used in this incident); Document Request No. 68 (seeking, inter alia,
seeks information related to "'distraction devices' such as stun, flash-bang, or concussion grenades," "pepper spray,"
"TASERs and other energJ weapons," " Explosive devices," and "Deadly physical force" none of which are related to the
case at bar); Interrogatory Nos. 2-5 (seeking information related to arrests of non-parties unrelated to the claims and
defenses in this matter)). In light of the foregoing, defendants consent to a revised deadline of September 6th for
plaintiffs' to serve document request and interrogatories.

      Additionally, as previously discussed, I also write to memorialize defendants' consent to plaintiff s responses to
defendants' document requests and interrogatories being due September l6th.


Best,

Peter

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